Case 3:19-bk-30822   Doc 190-5 Filed 06/12/20 Entered 06/12/20 16:17:15   Desc
                            Exhibit 5 Page 1 of 23
Case 3:19-bk-30822   Doc 190-5 Filed 06/12/20 Entered 06/12/20 16:17:15   Desc
                            Exhibit 5 Page 2 of 23
Case 3:19-bk-30822   Doc 190-5 Filed 06/12/20 Entered 06/12/20 16:17:15   Desc
                            Exhibit 5 Page 3 of 23
Case 3:19-bk-30822   Doc 190-5 Filed 06/12/20 Entered 06/12/20 16:17:15   Desc
                            Exhibit 5 Page 4 of 23
Case 3:19-bk-30822   Doc 190-5 Filed 06/12/20 Entered 06/12/20 16:17:15   Desc
                            Exhibit 5 Page 5 of 23
Case 3:19-bk-30822   Doc 190-5 Filed 06/12/20 Entered 06/12/20 16:17:15   Desc
                            Exhibit 5 Page 6 of 23
Case 3:19-bk-30822   Doc 190-5 Filed 06/12/20 Entered 06/12/20 16:17:15   Desc
                            Exhibit 5 Page 7 of 23
Case 3:19-bk-30822   Doc 190-5 Filed 06/12/20 Entered 06/12/20 16:17:15   Desc
                            Exhibit 5 Page 8 of 23
Case 3:19-bk-30822   Doc 190-5 Filed 06/12/20 Entered 06/12/20 16:17:15   Desc
                            Exhibit 5 Page 9 of 23
Case 3:19-bk-30822   Doc 190-5 Filed 06/12/20 Entered 06/12/20 16:17:15   Desc
                            Exhibit 5 Page 10 of 23
Case 3:19-bk-30822   Doc 190-5 Filed 06/12/20 Entered 06/12/20 16:17:15   Desc
                            Exhibit 5 Page 11 of 23
Case 3:19-bk-30822   Doc 190-5 Filed 06/12/20 Entered 06/12/20 16:17:15   Desc
                            Exhibit 5 Page 12 of 23
Case 3:19-bk-30822   Doc 190-5 Filed 06/12/20 Entered 06/12/20 16:17:15   Desc
                            Exhibit 5 Page 13 of 23
Case 3:19-bk-30822   Doc 190-5 Filed 06/12/20 Entered 06/12/20 16:17:15   Desc
                            Exhibit 5 Page 14 of 23
Case 3:19-bk-30822   Doc 190-5 Filed 06/12/20 Entered 06/12/20 16:17:15   Desc
                            Exhibit 5 Page 15 of 23
Case 3:19-bk-30822   Doc 190-5 Filed 06/12/20 Entered 06/12/20 16:17:15   Desc
                            Exhibit 5 Page 16 of 23
Case 3:19-bk-30822   Doc 190-5 Filed 06/12/20 Entered 06/12/20 16:17:15   Desc
                            Exhibit 5 Page 17 of 23
Case 3:19-bk-30822   Doc 190-5 Filed 06/12/20 Entered 06/12/20 16:17:15   Desc
                            Exhibit 5 Page 18 of 23
Case 3:19-bk-30822   Doc 190-5 Filed 06/12/20 Entered 06/12/20 16:17:15   Desc
                            Exhibit 5 Page 19 of 23
Case 3:19-bk-30822   Doc 190-5 Filed 06/12/20 Entered 06/12/20 16:17:15   Desc
                            Exhibit 5 Page 20 of 23
Case 3:19-bk-30822   Doc 190-5 Filed 06/12/20 Entered 06/12/20 16:17:15   Desc
                            Exhibit 5 Page 21 of 23
Case 3:19-bk-30822   Doc 190-5 Filed 06/12/20 Entered 06/12/20 16:17:15   Desc
                            Exhibit 5 Page 22 of 23
Case 3:19-bk-30822   Doc 190-5 Filed 06/12/20 Entered 06/12/20 16:17:15   Desc
                            Exhibit 5 Page 23 of 23
